                                                                                                 December 26, 2012

 United States
 Department of
·_Agriculture           Pamela Sellner
 Animal and Plant       Tom Sellner
 Health Inspection      Cricket Hollow Zoo
 Service
                        1512 210'h St.
 Animal Care
 Western Region ·       Manchester, IA 52057
 2150 Centre Ave.
 Building B
 Mail Stop # 3W11
 Ft Collins. co aos2a   Dear Ms. Sellner:
 Phone: 970/494~7478
 Fax: 970/494~7461


                        We have received and reviewed your letter ofDecember 13, 2012, wherein you are
                        appealing our findings documented under Sections 3.75(c)(3), 3.131(a), and 3.13l(c) on
                        our inspection report of November 26, 2012.

                        After review of your appeal, our inspection report and associated documents and
                        photographs were evaluated for appropriateness and consistency with the regulations and
                        standards as contained in Title 9 of the Code of Federal Regulations, Chapter 1,
                        Subchapter A. We find that the documentation contained in our inspection report
                        accurately reflects conditions at your facility during our inspection. We therefore do not
                        find sufficient justification to remove or change any of the citations documented on our
                        report. Your appeal is therefore denied.

                        If you wish to appeal this determination to our Regional Director, please know that if we
                        do not receive a response to that effect within 30 days, the original inspection report will
                        be posted online at that time.

                        Sincerely,



                        R. Ridenour, DVM
                        SVMO-'- Siipervisory Ailinlal Care Specialist
                        USDA, APHIS, Animal Care




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